Page 1 of 1 PagelD.8

Filed 12/11/20

Case 1:20-cv-00551-JAO-RT Document 1-1

HONOLULU HI 96

rr pou

: “2 ms Fe " Z - i ses A 6 i. "Gs lo. % the 5 er "aaa
wana Mei eee * ERE CEIVED nig £ Co
ALE fle mera m aba
Hose abu he, Sipide? fF
i 2, e ere a

fir gee ff

Hiei? CLERK,U.S. DISTRICTCOURT? PEC 2020 PM Fe Ca ———
eae o21e  $ 000.65°

0000939637 DEC 09 2020

DEC 11 2020
DISTRICT OF HAWAII

CLERK ) U.5. DereicT CogtT™ 1
Dtsrect 6 Awa ll SS
She Alg Moeaqls BlyD, own C-RaQ oc

Heroluiv, Ht 9Z8np- 0328 Z,

| SREEC-OSSSS || Malsabas ML MNP H hy PPyAfhyiyptiy

820 00554uA0 RF \&

